    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 1 of 82




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



 THOMAS SCHANSMAN, individually, as
 surviving Parent of QUINN LUCAS
 SCHANSMAN, and as legal guardian on behalf of
 X.S., a minor, ET AL.,


                                     Plaintiffs,
                                                       19 Civ. 2985 (ALC)(GWG)
        -against-


 SBERBANK OF RUSSIA PJSC, ET AL.,


                                     Defendants.




                    ANSWER OF THE DEFENDANT VTB BANK (PSJC)

       Defendant VTB Bank (PSJC) (“VTB Bank”), by and through undersigned counsel, hereby

submits the following Answer and Affirmative Defenses to Plaintiffs’ Second Amended

Complaint (“Complaint”) in the above-captioned action and states as follows:

                                NATURE OF THIS ACTION

       1.      Paragraph 1 of the Complaint contains legal conclusions to which no response is

required.   To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 1 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same, except admits that, on information and

belief, Malaysia Airlines Flight 17 (“MH17”), a civilian passenger plane traveling from




                                                   1
     Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 2 of 82




Amsterdam to Kuala Lampur crashed on July 17, 2014, killing all 298 passengers on board,

including 80 children and Quinn Lucas Schansman (“Quinn Schansman”).

       2.      Paragraph 2 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 2 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       3.      Paragraph 3 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 3 of

the Complaint, if any, that purport to relate to VTB Bank except admits that it is a corporate entity.

       4.      Paragraph 4 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 4 of

the Complaint, if any, that purport to relate to VTB Bank.

       5.      Paragraph 5 of the Complaint contains legal conclusions to which no response is

required, including, without limitation, the phrase “[a]t all relevant times.” To the extent a

response is required, VTB Bank lacks sufficient knowledge or information to admit or deny the

allegations in Paragraph 5 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       6.      Paragraph 6 of the Complaint contains legal conclusions to which no response is

required, including, without limitation, the phrase “[a]t all relevant times.” To the extent a

response is required, VTB Bank lacks sufficient knowledge or information to admit or deny the

allegations in Paragraph 6 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.




                                                  2
     Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 3 of 82




       7.       Paragraph 7 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 7 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       8.       VTB Bank lacks sufficient knowledge or information to admit or deny the

allegations in Paragraph 8 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       9.       Paragraph 9 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 9 of

the Complaint, if any, that purport to relate to VTB Bank. VTB Banks avers that it provides

services to legal entities and individuals strictly on the basis of its compliance rules.

       10.      Paragraph 10 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 10

of the Complaint. VTB Banks avers that it provides services to legal entities and individuals

strictly on the basis of its compliance rules.

       11.      Paragraph 11 of the Complaint contains legal conclusions to which no response is

required. VTB Bank states, on information and belief, that Quinn Schansman, a United States

citizen, was killed as he was traveling aboard MH17. To the extent a response is required, VTB

Bank lacks sufficient knowledge or information to admit or deny any remaining allegations in

Paragraph 11 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.




                                                   3
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 4 of 82




       12.      Paragraph 12 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 12

of the Complaint, if any, that purport to relate to VTB Bank.

       13.      Paragraph 13 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 13

of the Complaint, if any, that purport to relate to VTB Bank.

       14.      Paragraph 14 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 14

of the Complaint, if any, that purport to relate to VTB Bank.

       15.      Paragraph 15 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 15

of the Complaint, if any, that purport to relate to VTB Bank.

       16.      Paragraph 16 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 16 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       17.      Paragraph 17 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 17 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       18.      Paragraph 18 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or




                                                4
     Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 5 of 82




information to admit or deny the allegations in Paragraph 18 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

          19.      Paragraph 19 of the Complaint contains legal conclusions to which no response is

required.       To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 19 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

          20.      Paragraph 20 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 20

of the Complaint, if any, that purport to relate to VTB Bank except admits that it is a corporate

entity.

          21.      Paragraph 21 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 21

of the Complaint, if any, that purport to relate to VTB Bank.

          22.      Paragraph 22 of the Complaint contains legal conclusions to which no response is

required.       To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 22 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

                                   JURISDICTION AND VENUE

          23.      Paragraph 23 of the Complaint contains legal conclusions to which no response is

required. VTB Bank states that Plaintiffs have failed to state a claim under the Antiterrorism Act,

18 U.S.C. § 2331 et seq. VTB Bank states that Plaintiffs failed to allege that VTB Bank’s conduct

amounts to an “act of international terrorism” under § 2333(a) including, without limitation, as

courts in this Circuit have repeatedly held that the mere provision of financial services is not

inherently violent or dangerous to human life. VTB Bank states that Plaintiffs’ allegations fail to
                                                   5
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 6 of 82




establish that VTB Bank knew or intended that funds provided to the “fundraisers” would aid the

DPR in executing a deadly attack against civilians as 18 U.S.C §§ 2339A and 2339C require. VTB

Bank states that Plaintiffs fail to establish that VTB Bank’s conduct was the proximate cause of

Plaintiffs injuries. To the extent a response is required, VTB Bank denies any remaining

allegations in Paragraph 23 of the Complaint, if any, that purport to relate to VTB Bank.

       24.     Paragraph 24 of the Complaint contains legal conclusions to which no response is

required. VTB Bank states that Plaintiffs failed to allege that VTB Bank’s conduct amount to an

“act of international terrorism” under § 2333(a) including, without limitation, as courts in this

Circuit have repeatedly held that the mere provision of financial services is not inherently violent

or dangerous to human life. To the extent a response is required, VTB Bank denies any remaining

allegations in Paragraph 24 of the Complaint, if any, that purport to relate to VTB Bank.

       25.     Paragraph 25 of the Complaint contains legal conclusions to which no response is

required. VTB Bank states that it is not incorporated and has no physical presence in New York

or anywhere else in the United States. VTB Bank states that it is incorporated and has its principal

place of business in the Russian Federation. VTB has no agents within the Southern District of

New York. To the extent a response is required, VTB Bank denies any remaining allegations in

Paragraph 25 of the Complaint, if any, that purport to relate to VTB Bank.

       26.     Paragraph 26 of the Complaint contains legal conclusions to which no response is

required. VTB Bank lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 26 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       27.     Paragraph 27 of the Complaint contains legal conclusions to which no response is

required. including, without limitation, the phrase “[a]t all relevant times.” VTB Bank denies the



                                                 6
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 7 of 82




allegations in Paragraph 27 of the Complaint, except admits that it previously operated its

subsidiary VTB Capital in New York, NY, that was sold and renamed Xtellus Capital Partners in

or around August 2018.

                                        THE PARTIES

       28.     VTB Bank lacks sufficient knowledge or information to admit or deny the

allegations regarding the relationship of Plaintiff Thomas Schansman to Quinn Schansman.

Paragraph 28 of the Complaint otherwise contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the remaining allegations in

Paragraph 28 of the Complaint, if any, that purport to relate to VTB Bank.

       29.     VTB Bank lacks sufficient knowledge or information to admit or deny the

allegations regarding the relationship of Plaintiff Catharina Teunissen to Quinn Schansman.

Paragraph 29 of the Complaint otherwise contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the remaining allegations in

Paragraph 29 of the Complaint, if any, that purport to relate to VTB Bank.

       30.     VTB Bank lacks sufficient knowledge or information to admit or deny the

allegations regarding the relationship of Plaintiff Nerissa Schansman to Quinn Schansman.

Paragraph 30 of the Complaint otherwise contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the remaining allegations in

Paragraph 30 of the Complaint, if any, that purport to relate to VTB Bank.

       31.     VTB Bank lacks sufficient knowledge or information to admit or deny the

allegations regarding the relationship of Plaintiff Thomas Schanshman and X.S. to Quinn

Schansman. Paragraph 31 of the Complaint otherwise contains legal conclusions to which no

response is required. To the extent a response is required, VTB Bank denies the remaining

allegations in Paragraph 31 of the Complaint, if any, that purport to relate to VTB Bank.
                                                7
     Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 8 of 82




                          The Russian State-Owned Bank Defendants

       32.     Paragraph 32 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 32 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       33.     To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 33 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       34.     Paragraph 34 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 34 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       35.     VTB Bank lacks sufficient knowledge or information to admit or deny the

allegations in Paragraph 35 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       36.     VTB Bank lacks sufficient knowledge or information to admit or deny the

allegations in Paragraph 36 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       37.     VTB Bank lacks sufficient knowledge or information to admit or deny the

allegations in Paragraph 37 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.



                                                  8
     Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 9 of 82




       38.     VTB Bank lacks sufficient knowledge or information to admit or deny the

allegations in Paragraph 38 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       39.     Paragraph 39 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 39 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       40.     Paragraph 40 of the Complaint contains legal conclusions to which no response is

required. VTB Bank denies that it is a “Russian state-owned banking institution” and avers that

the Russian Federation owns approximately 60.93 percent of VTB Bank’s voting stock. VTB

Bank further denies that it has “offices and branches worldwide” to the extent that allegation is

vague, or otherwise suggests that VTB Bank has offices and branches in every country worldwide.

VTB Bank avers that it has offices and branches in certain jurisdictions across the world, but does

not have any such presence in New York, or anywhere else in the United States. VTB Bank denies

that it currently operates a retail bank under the name VTB24.

       41.     Paragraph 41 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank denies the allegations in Paragraph 41.

       42.     Paragraph 42 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank denies the allegations in Paragraph 42 and avers that it has no interest in

Xtellus Capital Partners. VTB Bank admits that it previously operated its subsidiary VTB Bank

Capital in New York, NY, that was sold and renamed Xtellus Capital Partners in or around August



                                                  9
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 10 of 82




2018, but avers that at no time did VTB Bank operate through this office nor did this office have

any control over or contact with any of VTB Bank’s correspondent accounts in the United States.

       43.       VTB Bank denies the allegations in Paragraph 43 and avers that the statements that

VTB Bank made in September 2018 regarding any agreement with Xtellus Capital Partners speak

for themselves and VTB Bank does not aver to their accuracy.

       44.       Paragraph 44 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 44

of the Complaint.

       45.       Paragraph 45 of the Complaint contains legal conclusions to which no response is

required, including, without limitation, the phrase “[a]t all relevant times.” To the extent a

response is required, VTB Bank denies the allegations in Paragraph 45 of the Complaint, except

admits that it provides banking and money transfer services that allow customers to send and/or

receive money via wire transfers. VTB Bank further admits that money that VTB Bank customers

receive can be held in specified accounts, or on cards issued by VTB Bank. VTB Bank lacks

sufficient information or knowledge to admit or deny the remaining allegations in Paragraph 45 of

the Complaint.

       46.       VTB Bank denies the allegations in Paragraph 46, except admits that VTB Bank

customers can send funds to, or receive funds from, another VTB Bank account or VTB Bank-

issued card. VTB Bank lacks sufficient information or knowledge to admit or deny the remaining

allegations in Paragraph 46 of the Complaint.

       47.       VTB Bank denies the Paragraph 47 of the Complaint. VTB Bank lacks sufficient

information or knowledge to admit or deny the remaining allegations in Paragraph 47 of the

Complaint.



                                                 10
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 11 of 82




         48.      Paragraph 48 of the Complaint contains legal conclusions to which no response is

required, including, without limitation, the phrase “[a]t all relevant times.” VTB Bank admits that

it holds certain correspondent accounts in New York, New York, as specified in Paragraph 48(b)

below.

         a) VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

               in Paragraph 48(a) of the Complaint, if any, that purport to relate to VTB Bank and,

               therefore, denies the same.

         b) VTB Bank states that, as of November 15, 2021, it maintains correspondent accounts

               with JPMorgan Chase Bank, Bank of New York, and Citibank, N.A.

         49.      VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 49 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

         50.      VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 50 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

         51.      VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 51 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

         52.      VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 52 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

         53.      VTB Bank denies the allegations in Paragraph 53 and avers that the advertisements

referenced in Paragraph 53 speak for themselves and VTB Bank does not aver to their accuracy.



                                                  11
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 12 of 82




VTB Bank lacks sufficient information or knowledge to admit or deny the remaining allegations

in Paragraph 53 of the Complaint.

       54.     VTB Bank denies the allegations in Paragraph 54 and avers that the advertisements

referenced in Paragraph 54 speak for themselves and VTB Bank does not aver to their accuracy.

VTB Bank lacks sufficient information or knowledge to admit or deny the remaining allegations

in Paragraph 54 of the Complaint.

       55.     VTB Bank denies the allegations in Paragraph 55 and avers that the advertisements

referenced in Paragraph 55 speak for themselves and VTB Bank does not aver to their accuracy.

       56.     To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 56 of the Complaint and, therefore, denies

the same.

       57.     To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 57 of the Complaint and, therefore, denies

the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint speak

for themselves and VTB Bank does not aver to their accuracy.

       58.     To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 58 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       59.     Paragraph 59 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 59

of the Complaint.




                                               12
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 13 of 82




       60.     Paragraph 60 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 60

of the Complaint.

       61.     Paragraph 61 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 61 of the Complaint and, therefore, denies

the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint speak

for themselves and VTB Bank does not aver to their accuracy.

       62.     Paragraph 62 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 62

of the Complaint.

                      The United States-Based Companies Financing Terrorism

       63.     Paragraph 63 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 63 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       64.     Paragraph 64 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 64 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       65.     Paragraph 65 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations



                                                 13
         Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 14 of 82




     in Paragraph 65 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

     the same.

            66.     Paragraph 66 of the Complaint contains legal conclusions to which no response is

     required. To the extent a response is required, VTB Bank lacks sufficient information or

     knowledge to admit or deny the allegations in Paragraph 66 of the Complaint, if any, that purport

     to relate to VTB Bank and, therefore, denies the same.

            67.     Paragraph 67 of the Complaint contains legal conclusions to which no response is

     required. To the extent a response is required, VTB Bank lacks sufficient information or

     knowledge to admit or deny the allegations in Paragraph 67 of the Complaint, if any, that purport

     to relate to VTB Bank and, therefore, denies the same.

            68.     Paragraph 68 of the Complaint contains legal conclusions to which no response is

     required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 68

     of the Complaint, if any, that purport to relate to VTB Bank.

            69.     Paragraph 69 of the Complaint contains legal conclusions to which no response is

     required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 69

     of the Complaint, if any, that purport to relate to VTB Bank.

                                        FACTUAL ALLEGATIONS

I.      The Murder of Quinn Lucas Schansman

            70.     VTB Bank lacks sufficient knowledge or information to admit or deny the

     allegations in Paragraph 70 of the Complaint, if any, that purport to relate to VTB Bank and,

     therefore, denies the same.

            71.     VTB Bank lacks sufficient knowledge or information to admit or deny the

     allegations in Paragraph 71 of the Complaint, if any, that purport to relate to VTB Bank and,

     therefore, denies the same.

                                                     14
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 15 of 82




       72.      VTB Bank lacks sufficient knowledge or information to admit or deny the

allegations in Paragraph 72 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       73.      VTB Bank states, on information and belief, that Quinn Schansman was onboard

flight MH17 on July 17, 2014. To the extent a response is required, VTB Bank lacks sufficient

knowledge or information to admit or deny the allegations in Paragraph 73 of the Complaint, if

any, that purport to relate to VTB Bank and, therefore, denies the same.

       74.      VTB Bank lacks sufficient knowledge or information to admit or deny the

allegations in Paragraph 74 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same, except admits that, on information and belief, flight MH17 was flying

from Amsterdam to Kuala Lumpur.

       75.      Paragraph 75 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 75 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same, except admits that, on information and

belief, flight MH17 crashed, killing all 298 passengers on board.

       76.      Paragraph 76 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 76 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       77.      Paragraph 77 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or




                                                15
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 16 of 82




information to admit or deny the allegations in Paragraph 77 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       78.      Paragraph 78 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 78 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       79.      Paragraph 79 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 79 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       80.      Paragraph 80 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 80 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       81.      Paragraph 81 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 81 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       82.      Paragraph 82 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 82 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.




                                                16
          Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 17 of 82




             83.      Paragraph 83 of the Complaint contains legal conclusions to which no response is

      required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

      information to admit or deny the allegations in Paragraph 83 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

             84.      Paragraph 84 of the Complaint contains legal conclusions to which no response is

      required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

      information to admit or deny the allegations in Paragraph 84 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

             85.      Paragraph 85 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 85 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

             86.      Paragraph 86 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 86 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

             87.      Paragraph 87 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 87 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

II.      The DPR’s Violent Campaign of Intimidation and Coercion Against Civilians, the
         Ukrainian Government, and Other Governments Seeking to Contain Russian Aggression

             88.      Paragraph 88 of the Complaint contains legal conclusions to which no response is

      required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or


                                                      17
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 18 of 82




information to admit or deny the allegations in Paragraph 88 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       89.      Paragraph 89 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 89 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       90.      Paragraph 90 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 90 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       91.      Paragraph 91 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 91 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       92.      Paragraph 92 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 92 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       93.      Paragraph 93 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 93 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.




                                                18
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 19 of 82




       94.      Paragraph 94 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 94 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       95.      Paragraph 95 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 95 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       96.      Paragraph 96 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 96 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       97.      Paragraph 97 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 97 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       98.      Paragraph 98 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or

information to admit or deny the allegations in Paragraph 98 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       99.      Paragraph 99 of the Complaint contains legal conclusions to which no response is

required.    To the extent a response is required, VTB Bank lacks sufficient knowledge or




                                                19
       Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 20 of 82




   information to admit or deny the allegations in Paragraph 99 of the Complaint, if any, that purport

   to relate to VTB Bank and, therefore, denies the same.

          100.    Paragraph 100 of the Complaint contains legal conclusions to which no response is

   required. To the extent a response is required, VTB Bank lacks sufficient information or

   knowledge to admit or deny the allegations in Paragraph 100 of the Complaint, if any, that purport

   to relate to VTB Bank and, therefore, denies the same.

          101.    Paragraph 101 of the Complaint contains legal conclusions to which no response is

   required. To the extent a response is required, VTB Bank lacks sufficient information or

   knowledge to admit or deny the allegations in Paragraph 101 of the Complaint, if any, that purport

   to relate to VTB Bank and, therefore, denies the same.

          102.    Paragraph 102 of the Complaint contains legal conclusions to which no response is

   required. To the extent a response is required, VTB Bank lacks sufficient information or

   knowledge to admit or deny the allegations in Paragraph 102 of the Complaint, if any, that purport

   to relate to VTB Bank and, therefore, denies the same.

          103.    Paragraph 103 of the Complaint contains legal conclusions to which no response is

   required. To the extent a response is required, VTB Bank lacks sufficient information or

   knowledge to admit or deny the allegations in Paragraph 103 of the Complaint, if any, that purport

   to relate to VTB Bank and, therefore, denies the same.

III.   Prior to the DPR’s Terrorist Attack on MH17, Defendants Knew About the DPR’s
       Terrorist Activities

          A. Prior to the DPR’s Terrorist Attack on MH17, the DPR’s Terrorist Activities Were
             Widely Known and Extensively Reported on International Media

          104.    Paragraph 104 of the Complaint contains legal conclusions to which no response is

   required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 104

   of the Complaint, if any, that purport to relate to VTB Bank, and otherwise states that it lacks

                                                   20
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 21 of 82




sufficient information or knowledge to admit or deny the remaining allegations in Paragraph 104

of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies the same.

       105.    Paragraph 105 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 105 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       106.    Paragraph 106 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 106 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       107.    Paragraph 107 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 107 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       108.    Paragraph 108 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 108 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       109.    Paragraph 109 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations



                                                 21
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 22 of 82




in Paragraph 109 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       110.    Paragraph 110 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 110 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       111.    Paragraph 111 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 111 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       112.    Paragraph 112 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 112 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       B. Prior to the DPR’s Terrorist Attack on MH17, the DPR’s Terrorist Activities Were
          Widely Known and Extensively Reported on by Governments and Intergovernmental
          Organizations

       113.    Paragraph 113 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 113 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.



                                                 22
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 23 of 82




       114.    VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 114 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       115.    Paragraph 115 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 115 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       116.    VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 116 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       117.    Paragraph 117 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 117 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       118.    Paragraph 118 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 118 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       119.    Paragraph 119 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or




                                                 23
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 24 of 82




knowledge to admit or deny the allegations in Paragraph 119 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       120.    Paragraph 120 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 120 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       121.    Paragraph 121 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 121 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       122.    Paragraph 122 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 122 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       123.    Paragraph 123 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 123 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.




                                                 24
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 25 of 82




       124.    Paragraph 124 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 124 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       125.    Paragraph 125 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 125 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       126.    Paragraph 126 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 126 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       127.    Paragraph 127 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 127 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       128.    Paragraph 128 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 128 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.




                                                 25
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 26 of 82




       C. Prior to the DPR’s Terrorist Attack on MH17, the United States Government Expressly
          Sought to Stop the Flow of Material Support to the DPR and Its Affiliated Terrorist
          Groups

       129.    Paragraph 129 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 129 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       130.    Paragraph 130 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 130 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       131.    Paragraph 131 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 131 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       132.    Paragraph 132 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 132

of the Complaint, if any, that purport to relate to VTB Bank.

       133.    Paragraph 133 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 133 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       134.    Paragraph 134 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or



                                               26
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 27 of 82




knowledge to admit or deny the allegations in Paragraph 134 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       135.    Paragraph 135 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 135 of the Complaint and, therefore,

denies the same, except avers that the actions and statements of the Treasury Department speak

for themselves and VTB Bank does not aver to their accuracy.

       136.    Paragraph 136 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 136 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same

       137.    Paragraph 137 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 137 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       138.    Paragraph 138 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 138

of the Complaint.

       139.    Paragraph 139 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 139 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.




                                               27
          Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 28 of 82




             D. Prior to the DPR’s Terrorist Attack on MH17, Defendants Operated Extensively in
                Ukraine

             140.    Paragraph 140 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 140 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

             141.    Paragraph 141 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 141 of the Complaint, if any, that purport

      to relate to VTB Bank that and, therefore, denies the same.

             142.    Paragraph 142 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 142

      of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies the same, except

      admits that VTB Bank operated a subsidiary in Ukraine.

             143.    Paragraph 143 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 143 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

             144.    Paragraph 144 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 144

      of the Complaint.

IV.      The DPR Relies on a Global Supply Chain Facilitated by Defendants to Fund Terrorism
         in the Donbass Region

             145.    Paragraph 145 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

                                                      28
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 29 of 82




knowledge to admit or deny the allegations in Paragraph 145 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       146.    Paragraph 146 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 146 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       147.    Paragraph 147 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 147 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       148.    Paragraph 148 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 148 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       149.    Paragraph 149 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 149 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       150.    Paragraph 150 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the remaining allegations in Paragraph 150 of the Complaint and,

therefore, denies the same.




                                               29
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 30 of 82




       151.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 151 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       152.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 152 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       153.    Paragraph 153 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 153 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       154.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 154 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       155.    Paragraph 155 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 155 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       156.    Paragraph 156 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 156 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       157.    Paragraph 157 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or



                                               30
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 31 of 82




knowledge to admit or deny the allegations in Paragraph 157 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       158.    Paragraph 158 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 158 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       159.    Paragraph 159 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 159 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       160.    Paragraph 160 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 160

of the Complaint, if any, that purport to relate to VTB Bank, and otherwise lacks sufficient

information or knowledge to admit or deny the remaining allegations in Paragraph 160 of the

Complaint, if any, that purport to relate to VTB Bank and, therefore, denies the same.

       161.    Paragraph 161 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 161

of the Complaint, if any, that purport to relate to VTB Bank, and otherwise lacks sufficient

information or knowledge to admit or deny the remaining allegations in Paragraph 161 of the

Complaint, if any, that purport to relate to VTB Bank and, therefore, denies the same.

       162.    Paragraph 162 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 162

of the Complaint, if any, that purport to relate to VTB Bank, and otherwise lacks sufficient



                                               31
         Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 32 of 82




     information or knowledge to admit or deny the remaining allegations in Paragraph 162 of the

     Complaint, if any, that purport to relate to VTB Bank and, therefore, denies the same.

V.      Prior to the DPR’s Terrorist Attack on MH17, Defendants Were Aware That They
        Were Providing Material Support and Financing to the DPR

            163.    Paragraph 163 of the Complaint contains legal conclusions to which no response is

     required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 163

     of the Complaint, if any, that purport to relate to VTB Bank, and otherwise lacks sufficient

     information or knowledge to admit or deny the remaining allegations in Paragraph 163 of the

     Complaint, if any, that purport to relate to VTB Bank and, therefore, denies the same.

            164.    To the extent a response is required, VTB Bank lacks sufficient information or

     knowledge to admit or deny the allegations in Paragraph 164 of the Complaint, if any, that purport

     to relate to VTB Bank and, therefore, denies the same.

            165.    Paragraph 165 of the Complaint contains legal conclusions to which no response is

     required. To the extent a response is required, VTB Bank lacks sufficient information or

     knowledge to admit or deny the allegations in Paragraph 165 of the Complaint, if any, that purport

     to relate to VTB Bank and, therefore, denies the same.

            166.    To the extent a response is required, VTB Bank lacks sufficient information or

     knowledge to admit or deny the allegations in Paragraph 166 of the Complaint, if any, that purport

     to relate to VTB Bank and, therefore, denies the same.

            167.    To the extent a response is required, VTB Bank lacks sufficient information or

     knowledge to admit or deny the allegations in Paragraph 167 of the Complaint, if any, that purport

     to relate to VTB Bank and, therefore, denies the same.

            168.    Paragraph 168 of the Complaint contains legal conclusions to which no response is

     required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 168


                                                    32
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 33 of 82




and avers that the article referenced in Paragraph 168 speaks for itself and VTB Bank does not

aver to its accuracy.

       169.    Paragraph 169 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 169

and avers that the article referenced in Paragraph 169 speaks for itself and VTB Bank does not

aver to its accuracy.

       170.    Paragraph 170 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 170

of the Complaint.

       171.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 171 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       172.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 172 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       173.    Paragraph 173 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 173

of the Complaint, and otherwise avers that it lacks sufficient information or knowledge to admit

or deny the allegations in Paragraph 173 of the Complaint and, therefore, denies the same. VTB

Bank avers that any sources referenced in this Paragraph of the Complaint speak for themselves

and VTB Bank does not aver to their accuracy.

       174.    Paragraph 174 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or



                                                33
          Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 34 of 82




      knowledge to admit or deny the allegations in Paragraph 174 of the Complaint and, therefore,

      denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint,

      if any, that purport to relate to VTB Bank speak for themselves and VTB Bank does not aver to

      their accuracy.

             175.       Paragraph 175 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 175 of the Complaint and, therefore,

      denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint,

      if any, that purport to relate to VTB Bank speak for themselves and VTB Bank does not aver to

      their accuracy.

             176.       Paragraph 176 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 176 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

VI.      Defendants Repeatedly Provided Material Support and Financing to DPR Fundraisers
         That Openly and Notoriously Advertised That the DPR Used Defendants’ Support to
         Carry Out Terrorist Acts

             177.       Paragraph 177 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 177 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

             178.       Paragraph 178 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 178 of the Complaint and, therefore,

      denies the same.
                                                       34
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 35 of 82




       179.    Paragraph 179 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 179 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       180.    Paragraph 180 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 180 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       181.    Paragraph 181 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 181 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       182.    Paragraph 182 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 182 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

           A. Defendants Repeatedly Provided Material Support and Financing Directly to Two
              of the DPR’s Most Notorious Leaders, Pavel Gubarev and Ekaterina Gubareva

       183.    Paragraph 183 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 183 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       184.    Paragraph 184 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or


                                               35
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 36 of 82




knowledge to admit or deny the allegations in Paragraph 184 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       185.    Paragraph 185 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 185 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       186.    Paragraph 186 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 186 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       187.    Paragraph 187 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 187 of the Complaint and, therefore,

denies the same.

       188.    Paragraph 188 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 188 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       189.    Paragraph 189 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 189 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.



                                                 36
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 37 of 82




       190.    Paragraph 190 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 190 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       191.    Paragraph 191 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 191 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       192.    Paragraph 192 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 192 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       193.    Paragraph 193 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 193 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       194.    Paragraph 194 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 194 of the Complaint and, therefore,

denies the same.

       195.    Paragraph 195 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response




                                                 37
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 38 of 82




is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 195 of the Complaint and, therefore, denies the same.

           B. Defendants Repeatedly Provided Material Support and Financing to the DPR
              Through DPR Fundraisers Who Boasted About Providing Lethal Supplies to Igor
              Streklov and Other DPR Leaders

                                DPR Fundraiser Save Donbass

       196.    Paragraph 196 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 196 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       197.    Paragraph 197 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 197 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       198.    Paragraph 198 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 198 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       199.    VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 199 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       200.    VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 200 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.



                                               38
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 39 of 82




       201.    VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 201 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       202.    VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 202 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       203.    VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 203 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       204.    Paragraph 204 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 204 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       205.    Paragraph 205 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 205 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       206.    VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 206 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       207.    VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 207 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.



                                               39
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 40 of 82




       208.    Paragraph 208 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 208 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       209.    Paragraph 209 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 209 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       210.    Paragraph 210 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 210 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       211.    VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 211 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

                              DPR Fundraiser Center for New Russia

       212.    Paragraph 212 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 212 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       213.    Paragraph 213 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations
                                                 40
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 41 of 82




in Paragraph 213 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       214.    Paragraph 214 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 214 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       215.    Paragraph 215 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 215 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       216.    Paragraph 216 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 216 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       217.    Paragraph 217 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 217 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       218.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 218 of the Complaint and, therefore,




                                                41
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 42 of 82




denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       219.    Paragraph 219 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 219 of the Complaint and, therefore, denies the same. VTB Bank avers that any

sources referenced in this Paragraph of the Complaint speak for themselves and VTB Bank does

not aver to their accuracy.

       220.    Paragraph 220 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 220 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same. VTB Bank avers that any sources

referenced in this Paragraph of the Complaint speak for themselves and VTB Bank does not aver

to their accuracy.

       221.    Paragraph 221 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 221 of the Complaint and, therefore,

denies the same.

       222.    Paragraph 222 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 222 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.




                                                 42
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 43 of 82




       223.    Paragraph 223 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 223 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       224.    Paragraph 224 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 224 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       225.    Paragraph 225 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 225 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       226.    Paragraph 226 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[f]or all relevant periods.” To the extent a

response is required, VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 226 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       227.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 227 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       228.    Paragraph 228 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or




                                               43
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 44 of 82




knowledge to admit or deny the allegations in Paragraph 228 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       229.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 229 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       230.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 230 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       231.    Paragraph 231 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 231 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       232.    Paragraph 232 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 232 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       233.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 233 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       234.    Paragraph 234 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “during the relevant period.” To the extent a

response is required, VTB Bank lacks sufficient information or knowledge to admit or deny the




                                               44
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 45 of 82




allegations in Paragraph 234 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       235.    Paragraph 235 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 235 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       236.    Paragraph 236 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 236 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       237.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 237 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       238.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 238 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       239.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 239 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       240.    Paragraph 240 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 240 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.



                                               45
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 46 of 82




       241.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 241 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       242.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 242 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       243.    Paragraph 243 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 243 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       244.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 244 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       245.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 245 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       246.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 246 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.




                                               46
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 47 of 82




       247.    Paragraph 247 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 247 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       248.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 248 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       249.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 249 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       250.    Paragraph 250 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 250 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       251.    Paragraph 251 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 251 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

                   DPR Fundraisers Veche, Rospisatel, and World Crisis

       252.    Paragraph 252 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 252 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.



                                               47
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 48 of 82




       253.    Paragraph 253 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 253 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       254.    Paragraph 254 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 254 of the Complaint and, therefore,

denies the same.

       255.    Paragraph 255 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 255 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       256.    Paragraph 256 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 256 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       257.    Paragraph 257 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 257 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.




                                               48
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 49 of 82




       258.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 258 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       259.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 259 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       260.    Paragraph 260 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 260 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       261.    Paragraph 261 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 261 of the Complaint and, therefore, denies the same. VTB Bank avers that any

sources referenced in this Paragraph of the Complaint speak for themselves and VTB Bank does

not aver to their accuracy.

       262.    Paragraph 262 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 262 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.




                                                 49
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 50 of 82




       263.    Paragraph 263 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 263 of the Complaint, if any, that purport

to relate to VTB Bank therefore, denies the same.

       264.    Paragraph 264 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 264 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       265.    Paragraph 265 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 265 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       266.    Paragraph 266 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 266 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       267.    Paragraph 267 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 267 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same. VTB Bank avers that any sources



                                               50
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 51 of 82




referenced in this Paragraph of the Complaint speak for themselves and VTB Bank does not aver

to their accuracy.

       268.    Paragraph 268 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 268 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       269.    Paragraph 269 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 269 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same. VTB Bank avers that any sources

referenced in this Paragraph of the Complaint speak for themselves and VTB Bank does not aver

to their accuracy.

       270.    Paragraph 270 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 270 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same. VTB Bank avers that any sources

referenced in this Paragraph of the Complaint speak for themselves and VTB Bank does not aver

to their accuracy.

       271.    Paragraph 271 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 271 of the Complaint and, therefore, denies the same. VTB Bank avers that any



                                                 51
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 52 of 82




sources referenced in this Paragraph of the Complaint speak for themselves and VTB Bank does

not aver to their accuracy.

                                  DPR Fundraiser ICORPUS

       272.    Paragraph 272 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 272 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       273.    Paragraph 273 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 273 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       274.    Paragraph 274 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 274 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       275.    Paragraph 275 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 275 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       276.    Paragraph 276 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 276 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.



                                               52
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 53 of 82




       277.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 277 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       278.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 278 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       279.    Paragraph 279 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 279 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

                              DPR Fundraiser Voice of Sevastopol

       280.    Paragraph 280 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 280 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       281.    Paragraph 281 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 281 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       282.    Paragraph 282 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 282 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.
                                                 53
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 54 of 82




       283.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 283 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       284.    Paragraph 284 of the Complaint contains legal conclusions to which no response is

required. including, without limitation, the phrase “[a]t all relevant times.” To the extent a

response is required, VTB Bank lacks sufficient information or knowledge to admit or deny the

allegations in Paragraph 284 of the Complaint, if any, that purport to relate to VTB Bank and,

therefore, denies the same.

       285.    Paragraph 285 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 285 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

                               DPR Fundraiser Essence of Time

       286.    Paragraph 286 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 286 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       287.    Paragraph 287 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 287 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       288.    Paragraph 288 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or
                                               54
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 55 of 82




knowledge to admit or deny the allegations in Paragraph 288 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       289.    Paragraph 289 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 289 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       290.    Paragraph 290 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 290 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       291.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 291 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

                        DPR Fundraiser People’s Militia of New Russia

       292.    Paragraph 292 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 292 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       293.    Paragraph 293 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 293 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.



                                                 55
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 56 of 82




       294.    Paragraph 294 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 294 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

           C. Defendants Repeatedly Provided Material Support and Financing to the DPR
              Through Alexander Zhuchkovsky, a Prominent DPR Fundraiser Who Boasted
              About Providing Lethal Weapons to Igor Strelkov

       295.    Paragraph 295 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 295 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       296.    Paragraph 296 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 296 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       297.    Paragraph 297 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 297 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       298.    Paragraph 298 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 298 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.



                                               56
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 57 of 82




       299.    Paragraph 299 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 299 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       300.    Paragraph 300 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 300 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       301.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 301 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       302.    Paragraph 302 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 302 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       303.    Paragraph 303 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 303 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       304.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 304 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.




                                               57
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 58 of 82




       305.    Paragraph 305 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 305 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       306.    Paragraph 306 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 306 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       307.    Paragraph 307 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 307 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       308.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 308 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       309.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 309 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       310.    Paragraph 310 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 310 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.




                                               58
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 59 of 82




       311.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 311 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       312.    Paragraph 312 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 312 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       313.    Paragraph 313 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 313 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       314.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 314 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       315.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 315 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       316.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 316 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       317.    Paragraph 317 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or



                                               59
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 60 of 82




knowledge to admit or deny the allegations in Paragraph 317 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       318.    Paragraph 318 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 318 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       319.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 319 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       320.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 320 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       321.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 321 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       322.    Paragraph 322 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 322 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       323.    Paragraph 323 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 323 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.



                                               60
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 61 of 82




       324.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 324 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       325.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 325 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       326.    Paragraph 326 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 326 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       327.    Paragraph 327 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 327 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       328.    Paragraph 328 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 328 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       329.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 329 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       330.    Paragraph 330 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or



                                               61
       Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 62 of 82




   knowledge to admit or deny the allegations in Paragraph 330 of the Complaint, if any, that purport

   to relate to VTB Bank and, therefore, denies the same.

          331.    Paragraph 331 of the Complaint contains legal conclusions to which no response is

   required. To the extent a response is required, VTB Bank lacks sufficient information or

   knowledge to admit or deny the allegations in Paragraph 331 of the Complaint, if any, that purport

   to relate to VTB Bank and, therefore, denies the same.

          332.    To the extent a response is required, VTB Bank lacks sufficient information or

   knowledge to admit or deny the allegations in Paragraph 332 of the Complaint, if any, that purport

   to relate to VTB Bank and, therefore, denies the same.

VII.   The Material Support and Financing Defendants Knowingly Provided to the DPR Were
       Essential to the DPR’s Violent Campaign of Terror and Intimidation

          333.    Paragraph 333 of the Complaint contains legal conclusions to which no response is

   required. To the extent a response is required, VTB Bank lacks sufficient information or

   knowledge to admit or deny the allegations in Paragraph 333 of the Complaint, if any, that purport

   to relate to VTB Bank and, therefore, denies the same.

          334.    Paragraph 334 of the Complaint contains legal conclusions to which no response is

   required. To the extent a response is required, VTB Bank lacks sufficient information or

   knowledge to admit or deny the allegations in Paragraph 334 the Complaint, if any, that purport to

   relate to VTB Bank and, therefore, denies the same.

          335.    To the extent a response is required, VTB Bank lacks sufficient information or

   knowledge to admit or deny the allegations in Paragraph 335 of the Complaint, if any, that purport

   to relate to VTB Bank and, therefore, denies the same.




                                                  62
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 63 of 82




       336.    To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 336 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       337.    Paragraph 337 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 337 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       338.    Paragraph 338 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 338 of the Complaint and, therefore,

denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

speak for themselves and VTB Bank does not aver to their accuracy.

       339.    Paragraph 339 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 339 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       340.    Paragraph 340 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 340 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       341.    Paragraph 341 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 341 of the Complaint and, therefore,



                                               63
            Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 64 of 82




        denies the same. VTB Bank avers that any sources referenced in this Paragraph of the Complaint

        speak for themselves and VTB Bank does not aver to their accuracy.

VIII.      Defendants’ Knowing Provision of Material Support and Financing to the DPR
           Constitute Acts of International Terrorism

               342.    Paragraph 342 of the Complaint contains legal conclusions to which no response is

        required. To the extent a response is required, VTB Bank lacks sufficient information or

        knowledge to admit or deny the allegations in Paragraph 342 of the Complaint, if any, that purport

        to relate to VTB Bank and, therefore, denies the same.

               343.    Paragraph 343 of the Complaint contains legal conclusions to which no response is

        required. To the extent a response is required, VTB Bank lacks sufficient information or

        knowledge to admit or deny the allegations in Paragraph 343 of the Complaint, if any, that purport

        to relate to VTB Bank and, therefore, denies the same.

               344.    Paragraph 344 of the Complaint contains legal conclusions to which no response is

        required. To the extent a response is required, VTB Bank lacks sufficient information or

        knowledge to admit or deny the allegations in Paragraph 344 of the Complaint, if any, that purport

        to relate to VTB Bank and, therefore, denies the same.

               345.    Paragraph 345 of the Complaint contains legal conclusions to which no response is

        required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

        is required, VTB Bank denies the allegations in Paragraph 345 of the Complaint.

               a) To the extent a response is required, VTB Bank states that due to impositions of foreign

                   law, including but not limited to the Federal Law of the Russian Federation No. 395-1

                   (“On Banks and Banking Activities”) and the Federal Law of the Russian Federation

                   No. 152-FZ (“On Personal Data”), VTB is unable to admit or deny the allegations in

                   Paragraph 345(a) at this time.


                                                         64
Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 65 of 82




  b) To the extent a response is required, VTB Bank lacks sufficient information or

     knowledge to admit or deny the allegations in Paragraph 345(b) of the Complaint, if

     any, that purport to relate to VTB Bank and, therefore, denies the same.

  c) To the extent a response is required, VTB Bank states that due to impositions of foreign

     law, including but not limited to the Federal Law of the Russian Federation No. 395-1

     (“On Banks and Banking Activities”) and the Federal Law of the Russian Federation

     No. 152-FZ (“On Personal Data”), VTB is unable to admit or deny the allegations in

     Paragraph 345(c) at this time.

  d) To the extent a response is required, VTB Bank lacks sufficient information or

     knowledge to admit or deny the allegations in Paragraph 345(d) of the Complaint, if

     any, that purport to relate to VTB Bank and, therefore, denies the same.

  e) To the extent a response is required, VTB Bank lacks sufficient information or

     knowledge to admit or deny the allegations in Paragraph 345(e) of the Complaint, if

     any, that purport to relate to VTB Bank and, therefore, denies the same.

  f) To the extent a response is required, VTB Bank lacks sufficient information or

     knowledge to admit or deny the allegations in Paragraph 345(f) of the Complaint, if

     any, that purport to relate to VTB Bank and, therefore, denies the same.

  g) To the extent a response is required, VTB Bank states that due to impositions of foreign

     law, including but not limited to the Federal Law of the Russian Federation No. 395-1

     (“On Banks and Banking Activities”) and the Federal Law of the Russian Federation

     No. 152-FZ (“On Personal Data”), VTB is unable to admit or deny the allegations in

     Paragraph 345(g) at this time.




                                          65
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 66 of 82




       h) To the extent a response is required, VTB Bank lacks sufficient information or

            knowledge to admit or deny the allegations in Paragraph 345(h) of the Complaint, if

            any, that purport to relate to VTB Bank and, therefore, denies the same.

       i) To the extent a response is required, VTB Bank lacks sufficient information or

            knowledge to admit or deny the allegations in Paragraph 345(i) of the Complaint, if

            any, that purport to relate to VTB Bank and, therefore, denies the same.

       j)   To the extent a response is required, VTB Bank lacks sufficient information or

            knowledge to admit or deny the allegations in Paragraph 345(j) of the Complaint, if

            any, that purport to relate to VTB Bank and, therefore, denies the same.

       k) To the extent a response is required, VTB Bank states that due to impositions of foreign

            law, including but not limited to the Federal Law of the Russian Federation No. 395-1

            (“On Banks and Banking Activities”) and the Federal Law of the Russian Federation

            No. 152-FZ (“On Personal Data”), VTB is unable to admit or deny the allegations in

            Paragraph 345(k) at this time.

       l)     To the extent a response is required, VTB Bank lacks sufficient information or

            knowledge to admit or deny the allegations in Paragraph 345(l) of the Complaint, if

            any, that purport to relate to VTB Bank and, therefore, denies the same.

       346.     Paragraph 346 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 346

of the Complaint.

       347.     Paragraph 347 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations



                                                 66
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 67 of 82




in Paragraph 347 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       a. To the extent a response is required, VTB Bank lacks sufficient information or

            knowledge to admit or deny the allegations in Paragraph 347(a) of the Complaint, if

            any, that purport to relate to VTB Bank and, therefore, denies the same.

       b. To the extent a response is required, VTB Bank lacks sufficient information or

            knowledge to admit or deny the allegations in Paragraph 347(b) of the Complaint, if

            any, that purport to relate to VTB Bank and, therefore, denies the same.

       c. To the extent a response is required, VTB Bank lacks sufficient information or

            knowledge to admit or deny the allegations in Paragraph 347(c) of the Complaint, if

            any, that purport to relate to VTB Bank and, therefore, denies the same.

       d. To the extent a response is required, VTB Bank lacks sufficient information or

            knowledge to admit or deny the allegations in Paragraph 347(d) of the Complaint, if

            any, that purport to relate to VTB Bank and, therefore, denies the same.

       e. To the extent a response is required, VTB Bank lacks sufficient information or

            knowledge to admit or deny the allegations in Paragraph 347(e) of the Complaint, if

            any, that purport to relate to VTB Bank and, therefore, denies the same.

       f. To the extent a response is required, VTB Bank lacks sufficient information or

            knowledge to admit or deny the allegations in Paragraph 347(f) of the Complaint, if

            any, that purport to relate to VTB Bank and, therefore, denies the same.

       g. To the extent a response is required, VTB Bank lacks sufficient information or

            knowledge to admit or deny the allegations in Paragraph 347(g) of the Complaint, if

            any, that purport to relate to VTB Bank and, therefore, denies the same.



                                                67
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 68 of 82




       h. To the extent a response is required, VTB Bank lacks sufficient information or

           knowledge to admit or deny the allegations in Paragraph 347(h) of the Complaint, if

           any, that purport to relate to VTB Bank and, therefore, denies the same.

       348.    Paragraph 348 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 348 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       349.    Paragraph 349 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 349 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       350.    Paragraph 350 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 350 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       351.    Paragraph 351 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 351 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       352.    Paragraph 352 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 352 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.



                                               68
          Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 69 of 82




IX.      Defendants Had Knowledge of the DPR’s Terrorist Activities

             353.    Paragraph 353 of the Complaint contains legal conclusions to which no response is

      required.

             354.    Paragraph 354 of the Complaint contains legal conclusions to which no response is

      required.

             355.    Paragraph 355 of the Complaint contains legal conclusions to which no response is

      required.

             356.    Paragraph 356 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 356 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

             357.    Paragraph 357 of the Complaint contains legal conclusions to which no response is

      required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

      is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

      in Paragraph 357 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

      the same.

             358.    Paragraph 358 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 358 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

             359.    Paragraph 359 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 359

      of the Complaint, if any, that purport to relate to VTB Bank.



                                                       69
         Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 70 of 82




            360.    Paragraph 360 of the Complaint contains legal conclusions to which no response is

     required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 360

     of the Complaint, if any, that purport to relate to VTB Bank.

            361.    Paragraph 361 of the Complaint contains legal conclusions to which no response is

     required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 361

     of the Complaint, if any, that purport to relate to VTB Bank.

X.      Defendants Knew or Were Deliberately Indifferent That Their Conduct Would Result
        in Terrorism

            362.    Paragraph 362 of the Complaint contains legal conclusions to which no response is

     required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

     is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

     in Paragraph 362 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

     the same.

            363.    Paragraph 363 of the Complaint contains legal conclusions to which no response is

     required including, without limitation, the phrase “[a]t all relevant times.” VTB Bank denies that

     it is a “Russian state-owned banking institution” and avers that the Russian Federation owns

     approximately 60.93 percent of VTB Bank’s voting stock. To the extent a response is required,

     VTB Bank lacks sufficient information or knowledge to admit or deny any remaining allegations

     in Paragraph 363 of the Complaint and, therefore, denies the same.

            364.    Paragraph 364 of the Complaint contains legal conclusions to which no response is

     required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

     is required, VTB Bank denies the allegations in Paragraph 364 of the Complaint.

            365.    Paragraph 365 of the Complaint contains legal conclusions to which no response is

     required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 365


                                                      70
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 71 of 82




of the Complaint, and otherwise avers that any sources referenced in this Paragraph of the

Complaint speak for themselves and VTB Bank does not aver to their accuracy.

       366.    Paragraph 366 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 366

of the Complaint, and otherwise avers that any sources referenced in this Paragraph of the

Complaint speak for themselves and VTB Bank does not aver to their accuracy.

       367.    Paragraph 367 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 367 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       368.    Paragraph 368 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 368 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       369.    Paragraph 369 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank denies the allegations in Paragraph 369 of the Complaint, if any, that

purport to relate to VTB Bank.

       370.    Paragraph 370 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response




                                                 71
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 72 of 82




is required, VTB Bank denies the allegations in Paragraph 370 of the Complaint, if any, that

purport to relate to VTB Bank.

       371.    Paragraph 371 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank denies the allegations in Paragraph 371 of the Complaint, if any, that

purport to relate to VTB Bank.

       372.    Paragraph 372 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 372 of the Complaint and, therefore, denies the same.

       373.    Paragraph 373 of the Complaint contains legal conclusions to which no response is

required including, without limitation, the phrase “[a]t all relevant times.” To the extent a response

is required, VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 373 of the Complaint, if any, that purport to relate to VTB Bank and, therefore, denies

the same.

       374.    Paragraph 374 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 374 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       375.    Paragraph 375 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 375 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.



                                                 72
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 73 of 82




       376.    Paragraph 376 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 376 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       377.    Paragraph 377 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 377 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       378.    Paragraph 378 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 378 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       379.    Paragraph 379 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 379

of the Complaint, if any, that purport to relate to VTB Bank.

       380.    Paragraph 380 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 380 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       381.    Paragraph 381 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 380

of the Complaint, if any, that purport to relate to VTB Bank.




                                               73
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 74 of 82




       382.       Paragraph 382 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 382 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       383.       Paragraph 383 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 383 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       384.       Paragraph 384 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 384 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       385.       Paragraph 385 of the Complaint contains legal conclusions to which no response is

required. VTB Bank lacks sufficient information or knowledge to admit or deny the allegations

in Paragraph 385 of the Complaint and, therefore, denies the same. VTB Bank avers the statements

it has made about its compliance programs speak for themselves and VTB Bank does not aver to

their accuracy.

       386.       Paragraph 386 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 386 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       387.       Paragraph 387 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or



                                                 74
          Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 75 of 82




      knowledge to admit or deny the allegations in Paragraph 387 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

             388.    Paragraph 388 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 388 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

             389.    Paragraph 389 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 389 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

             390.    Paragraph 390 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 390 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

             391.    Paragraph 391 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 391 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.

XI.      Plaintiffs Injuries Are the Proximate Result of Defendants’ Conduct and Actions

             392.    Paragraph 392 of the Complaint contains legal conclusions to which no response is

      required. To the extent a response is required, VTB Bank lacks sufficient information or

      knowledge to admit or deny the allegations in Paragraph 392 of the Complaint, if any, that purport

      to relate to VTB Bank and, therefore, denies the same.



                                                     75
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 76 of 82




       393.    Paragraph 393 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 393 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       394.    Paragraph 394 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 394 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       395.    Paragraph 395 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank lacks sufficient information or

knowledge to admit or deny the allegations in Paragraph 395 of the Complaint, if any, that purport

to relate to VTB Bank and, therefore, denies the same.

       396.    Paragraph 396 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 396

of the Complaint, if any, that purport to relate to VTB Bank.

       397.    Paragraph 397 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 397

of the Complaint, if any, that purport to relate to VTB Bank.

       398.    Paragraph 398 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 398

of the Complaint, if any, that purport to relate to VTB Bank.




                                               76
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 77 of 82




       399.    Paragraph 399 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 399

of the Complaint, if any, that purport to relate to VTB Bank.

         CLAIM 1 – PROVISION OF MATERIAL SUPPORT TO TERRORISTS

       400.    VTB Bank incorporates by reference, as if fully set forth herein, the preceding

Paragraphs of this Answer.

       401.    VTB Bank denies the key allegations in Paragraph 401 of the Complaint, if any,

that purport to relate to VTB Bank.

       402.    Paragraph 402 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 402

of the Complaint, if any, that purport to relate to VTB Bank.

       403.    Paragraph 403 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 403

of the Complaint, if any, that purport to relate to VTB Bank.

       404.    Paragraph 404 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 404

of the Complaint, if any, that purport to relate to VTB Bank.

       405.    Paragraph 405 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 405

of the Complaint, if any, that purport to relate to VTB Bank.

       406.    Paragraph 406 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 406

of the Complaint, if any, that purport to relate to VTB Bank.



                                               77
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 78 of 82




       407.    Paragraph 407 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 407

of the Complaint, if any, that purport to relate to VTB Bank.

       408.    Paragraph 408 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 408

of the Complaint, if any, that purport to relate to VTB Bank.

       409.    Paragraph 409 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 409

of the Complaint, if any, that purport to relate to VTB Bank.

                        CLAIM II – FINANCING OF TERRORISM

       410.    VTB Bank incorporates by reference, as if fully set forth herein, the preceding

Paragraphs of this Answer.

       411.    VTB Bank denies the key allegations in Paragraph 411 of the Complaint, if any,

that purport to relate to VTB Bank.

       412.    Paragraph 412 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 412

of the Complaint, if any, that purport to relate to VTB Bank.

       413.    Paragraph 413 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 413

of the Complaint, if any, that purport to relate to VTB Bank.

       414.    Paragraph 414 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 414

of the Complaint, if any, that purport to relate to VTB Bank.



                                               78
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 79 of 82




       415.    Paragraph 415 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 415

of the Complaint, if any, that purport to relate to VTB Bank.

       416.    Paragraph 416 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 416

of the Complaint, if any, that purport to relate to VTB Bank.

       417.    Paragraph 417 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 417

of the Complaint, if any, that purport to relate to VTB Bank.

       418.    Paragraph 418 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 418

of the Complaint, if any, that purport to relate to VTB Bank.

       419.    Paragraph 419 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, VTB Bank denies the allegations in Paragraph 419

of the Complaint, if any, that purport to relate to VTB Bank.

                                    PRAYER FOR RELIEF

       WHEREFORE, VTB Bank respectfully requests that the Court enter an order: (a) granting

judgment in favor of VTB Bank and against Plaintiffs; (b) dismissing Plaintiffs’ claims against

VTB Bank with prejudice; (c) denying with prejudice all relief requested by Plaintiffs from VTB

Bank; (d) awarding VTB Bank the costs and expenses, including reasonable attorney’s fees, that

they have incurred as a result hereof; and (e) awarding VTB Bank such other and further relief as

the Court deems just and proper. Plaintiffs’ Prayer for Relief does not contain allegations of fact

or law that require a response from VTB Bank; however, to the extent that a response is required,



                                                79
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 80 of 82




VTB Bank denies the allegations in the Prayer for Relief and denies that the relief sought by

Plaintiffs is appropriate or available.

                                    DEMAND FOR JURY TRIAL

          Plaintiffs demand for a trial by jury is a legal conclusion to which no response is

required.


                                 FIRST AFFIRMATIVE DEFENSE

          This Court lacks subject-matter jurisdiction over each of the claims in this action.

                               SECOND AFFIRMATIVE DEFENSE

          This Court lacks personal jurisdiction over VTB Bank with respect to this action.

                                 THIRD AFFIRMATIVE DEFENSE

          VTB Bank lacks capacity to be sued in this Court with respect to each of the claims in this

action.

                               FOURTH AFFIRMATIVE DEFENSE

          Plaintiffs have failed to state a claim on which relief may be granted against VTB and,

therefore, this action should be dismissed as to VTB Bank pursuant to Fed. R. Civ. P. 12(b)(6).

                                 FIFTH AFFIRMATIVE DEFENSE

          This Court is not a proper venue for this action and the action should be dismissed.

                                 SIXTH AFFIRMATIVE DEFENSE

          Plaintiffs have failed to allege their claims with the requisite specificity and particularity,

including, without limitation, allegations of time and place which are deemed material and

essential pursuant to Fed. R. Civ. P. 9(f).




                                                    80
    Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 81 of 82




                           SEVENTH AFFIRMATIVE DEFENSE

       To the extent Plaintiffs have suffered any legally cognizable harm or damages under the

legal theories alleged in the Complaint, which defendants deny, such harms or damages are the

proximate result of actions or omissions of third parties for which VTB Bank was not and are not

legally responsible and which also constitute superseding or intervening causes.

                            EIGHTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims for damages from VTB Bank are barred to the extent that Plaintiffs are

also seeking recovery against other Defendants for the same claims.

                             NINTH AFFIRMATIVE DEFENSE

         Plaintiffs’ claims are barred pursuant to 18 U.S.C § 2336(a) by reason of an act of war.

                             TENTH AFFIRMATIVE DEFENSE

       In response to Plaintiffs’ claims, VTB Bank intends to invoke any other defenses, including

affirmative defenses, as they may become apparent through discovery, and reserve the right, in

accordance with the Federal Rules of Civil Procedure and the Local Civil Rules of the United

States District Court for the Southern District of New York, to assert such defenses.



       VTB Bank adopts and incorporates by reference any applicable defense pleaded by any

other defendant not otherwise expressly set forth herein. VTB Bank hereby reserves the right to

amend or supplement its Answer and to assert any other affirmative defenses as and if they become

available.




                                                81
   Case 1:19-cv-02985-ALC-GWG Document 212 Filed 11/15/21 Page 82 of 82




Dated: November 15, 2021
       New York, NY



                                         /s/ Christopher Harris
                                         LATHAM & WATKINS LLP
                                         Christopher Harris
                                         Thomas J. Heiden (admitted pro hac vice)
                                         Zachary L. Rowen
                                         1271 Avenue of the Americas
                                         New York, New York 10020
                                         Tel: (212) 906-1200
                                         Email: Christopher.Harris@lw.com
                                                 Thomas.Heiden@lw.com
                                                 Zachary.Rowen@lw.com

                                         Attorneys for Defendant VTB Bank (PJSC)




                                    82
